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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


UNITED STATES                                         )
                                                      )
                                                      )
       v.                                             )              1:21-CR-00117-JAW
                                                      )
                                                      )
NAPOLEON GONZALEZ                                     )


                 DEFENDANT’S UNOPPOSED MOTION TO ENLARGE
                TIME FOR PREPARATION OF PRESENTENCE REPORT


       NOW COMES the Defendant, Napoleon Gonzalez, by and through the undersigned

counsel, and pursuant to Fed. R. Crim. P. 45(b), respectfully requests that this Court enlarge the

period of time for preparation of the presentence investigation report pursuant to Fed. R. Crim. P.

32(f)(1). In support of this request, the Defendant states as follows:

                                          ARGUMENT

       On August 18, 2023, the jury returned verdicts of guilty on all counts of the indictment in

the above-captioned matter. United States Probation Officer Thomas Kilroy first contacted

counsel about scheduling a presentence interview while counsel was on vacation during the last

week of August and first week of September. Counsel and Officer Kilroy scheduled a presentence

interview for Tuesday, September 26, but Mr. Gonzalez was confused about the date of the

appointment and did not appear for the interview. Officer Kilroy, Mr. Gonzalez, and defense

counsel were able to complete a presentence interview on October 26, 2023. Officer Kilroy

requires additional time prior to his disclosure deadline to obtain financial and medical records

pertaining to the Defendant.




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        Defense counsel therefore respectfully requests a thirty-day enlargement of the deadline

for filing of the presentence report. Neither Assistant United States Attorney Jeanne Semivan nor

United States Probation Officer Thomas Kilroy has any objection to this motion.

                                         CONCLUSION

        For the reasons set forth above, the Defendant, Napoleon Gonzalez, respectfully requests

that this Court reset the deadline for filing of the presentence investigation report to December 6,

2023.



Dated: November 6, 2023                                      /s/ Harris A. Mattson
                                                             Harris A. Mattson, Esq.
                                                             Counsel for Napoleon Gonzalez




                                 CERTIFICATE OF SERVICE
       I, Harris A. Mattson, Esq., hereby certify that the foregoing Unopposed Motion to Enlarge
Time for Preparation of the Presentence Report has been electronically sent to A.U.S.A. Jeanne
Semivan for the Office of the United States Attorney on this 6th day of November, 2023.


                                                             /s/ Harris A. Mattson
                                                             Harris A. Mattson, Esq.
                                                             Counsel for the Defendant




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